       Case 9:17-cv-00050-DLC-JCL Document 176 Filed 04/16/19 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                               MISSOULA DIVISION

 TANYA GERSH,
                                                    CV 17-50-M-DLC-JCL
         Plaintiff,

   and                                              ORDER

 TIMOTHY C. FOX, in his official
 capacity as Attorney General of the
 State of Montana,

         Intervenor,

 vs.

 ANDREW ANGLIN,

         Defendant.




       Defendant Andrew Anglin has filed a Motion to Compel Montana Human

Rights Network to Comply with Subpoena. (Doc. 138). Accordingly,

       IT IS ORDERED that oral argument on Defendant’s motion is set for May

2, 2019, at 10:00 a.m., at the Russell Smith Courthouse, 201 E. Broadway, in

Missoula.

              DATED this 16th day of April, 2019.

                                            ______________________________
                                            Jeremiah C. Lynch
                                            United States Magistrate Judge
